     Case 2:13-cr-06070-SAB        ECF No. 35   filed 01/09/14   PageID.76    Page 1 of 2




 1   Rick L. Hoffman
     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
 2   306 East Chestnut Avenue
     Yakima, Washington 98901
 3   (509) 248-8920

 4   Attorneys for Defendant

 5                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,            )
                                          )    CR-13-6070-WFN
 8          Plaintiff,                    )
                                          )    MOTION FOR EXPEDITED
 9     Vs.                                )    HEARING
                                          )
10   KENNY ROWELL,                        )    January 13, 2014 @ 10:50 a.m.
                                          )    Yakima, WA
11                                        )
            Defendant.                    )
12                                        )
     TO: MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
13         ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY

14          The defendant, KENNY ROWELL, by and through his attorney, Rick L.
15
     Hoffman, for the Federal Defenders of Eastern Washington and Idaho, hereby moves this
16
     court to consider on an expedited basis his separately filed motion to continue pretrial
17
     conference and trial and extend deadline to file pretrial motions in this matter. This
18
     motion is based upon the memorandum contained within the motion to continue pretrial
19

20   conference and trial and extend deadline to file pretrial motions , and Local Rule

21   7.1(h)(2)(c).
22
     //
23

24          MOTION FOR EXPEDITED
            HEARING
25                                                1
     Case 2:13-cr-06070-SAB       ECF No. 35   filed 01/09/14   PageID.77   Page 2 of 2




 1   DATED:      January 9, 2014.
 2
                                           Respectfully Submitted,
 3
                                           s/Rick L. Hoffman
 4                                         Rick L. Hoffman, 9478
                                           Attorney for KENNETH ROWELL
 5                                         Federal Defenders of Eastern
 6
                                           Washington and Idaho
                                           306 East Chestnut Avenue
 7                                         Yakima, Washington 98901
                                           (509) 248-8920
 8                                         (509) 248-9118 fax
                                           Rick_Hoffman@fd.org
 9

10

11                                  CERTIFICATE OF SERVICE

12         I hereby certify that on January 9, 2014, I electronically filed Defendant’s Motion

13   for Expedited Hearing with the Clerk of the Court using the CM/ECF System which will
14
     send notification of such filing to the following: Alexander C. Ekstrom, Assistant United
15
     States Attorney.
16

17
                                           s/Rick L. Hoffman
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22

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24         MOTION FOR EXPEDITED
           HEARING
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